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                           UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA


ABBY LINEBERRY and MIGUEL CORDERO,                   Case No. 3:23-cv-01996-VC
individually and on behalf of all others similarly
situated,                                            PLAINTIFFS’ RESPONSE TO ORDER ON
                                                     PROPOSED VERDICT FORM FOR CLASS
                      Plaintiffs,                    TRIAL

       vs.                                           Judge: Hon. Vince Chhabria

ADDSHOPPERS, INC., and PEET’S COFFEE,
INC.,

                      Defendants.
       The Court ordered Plaintiffs “to file a proposed verdict form for the trial they envision as

a way to assist [it] in assessing manageability.” See Dkt. No. 180. Plaintiffs submit their proposed

verdict form as Exhibit A, which is modeled after verdict forms successfully utilized in similar

statutory damages class action cases within the Ninth Circuit and the Fourth Circuit. The verdict

forms for these cases are attached as Exhibit B:

       1. Bultemeyer v. CenturyLink, Inc., Case No. CV-14-02530-PHX-SPL (D. Ariz.) -

           Motion for new trial denied, 2025 WL 671760 (D. Ariz. Mar. 3, 2025).

       2. Montera v. Premier Nutrition Corp., Case No. 16-cv-06980-RS (N.D. Cal.) -

           Judgment affirmed by Ninth Circuit with modifications only to prejudgment interest

           and statutory damages amount, 111 F.4th 1018 (9th Cir. 2024).

       3. Perez v. Rash Curtis & Associates, Case No. 16-cv-03396-YGR (N.D. Cal.) - Motion

           for new trial denied, 2020 WL 1904533 (N.D. Cal. Apr. 17, 2020).

       4. Wakefield v. Visalus, Inc., Case No. 3:15-cv-1857-SI (D. Oreg.) - Judgment affirmed

           by Ninth Circuit with modifications only to statutory damages amount, 51 F.4th 1109

           (9th Cir. 2022).

       5. Ramirez v. Trans Union, LLC, Case No. 12-cv-00632-JSC (N.D. Cal.) - Ninth Circuit

           rejected request for new trial, 951 F.3d 1008 (9th Cir. 2020), reversed on other grounds,

           594 U.S. 413 (2021).

       6. Siqueiros v. General Motors LLC, Case No. 16-cv-07244-EMC (N.D. Cal.) - Motion

           for new trial denied, 676 F.Supp.3d 776 (N.D. Cal. June 8, 2023).

       7. Kraukauer v. Dish Network LLC, Case No. 1:14-CV-333 (M.D.N.C.) - Judgment

           affirmed by Fourth Circuit, 925 F.3d 643 (4th Cir. 2019).




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Dated: March 12, 2025   Respectfully submitted,

                        /s/ Kasey A. Youngentob
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